


  On February 2, 2007, the court placed the respondent, Russell W. Hasenbank, on probation for a period of 4 years with specific conditions of supervision and reporting.
  
   In re Hasenbank, 283
  
  Kan. 155, 151 P.3d 1 (2007). The 4-year probationary period was made retroactive to June 1, 2006.
 

  On March 3, 2011, the respondent filed a motion for discharge from probation along with affidavits from the respondent and the supervising attorney demonstrating compliance during the period of probation.
 

  The Disciplinary Administrator has filed a response to the respondent’s motion confirming that the respondent has fully complied with all conditions imposed upon him by the court and recommending that the respondent be discharged from probation.
 

  This court, having reviewed the motion, the affidavits, and the recommendation of the office of the Disciplinary Administrator, finds that the respondent should be discharged from probation.
 

  It Is Therefore Ordered that the respondent is hereby discharged from probation and from any further obligation in this matter and that this proceeding is closed.
 

  It Is Further Ordered that this order shall be published in the Kansas Reports and that the costs herein shall be assessed to the respondent.
 
